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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Zurich American Insurance
Company, as subrogee of The
Westin Peachtree Plaza,

                        Plaintiff,

v.                                       Case No. 1:19-cv-4807-MLB

Steve Ayers Construction Co., Inc.
and Smyrna Rigging Co., Inc.,

                        Defendants.

________________________________/

                          OPINION & ORDER

     This matter involves a fire that occurred at the Westin Peachtree

Plaza Hotel in 2018. After paying an insurance claim, Plaintiff Zurich

Insurance Company sued in subrogation Defendants Steve Ayers

Construction Co., Inc. (“SAC”) and Smyrna Rigging Co., Inc. (“SRC”),

claiming they caused the fire while welding on the hotel roof. (Dkt. 1.)

There are a bunch of motions before the Court. Defendant SAC moves

for summary judgment.       (Dkt. 71.)    It also seeks sanctions against

Plaintiff for alleged spoliation of evidence. (Dkt. 88.) Plaintiff filed its
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own motion for spoliation sanctions and also moves to exclude at trial

certain evidence Defendant SAC’s fire causation expert relied upon.

(Dkts. 70; 69.) Plaintiff also seeks to exclude certain testimony and

opinions from that expert and another expert retained by Defendant

SAC. (Dkts. 68; 77.) Defendant SRC moves to join Defendant SAC’s

motions. (Dkt. 109.) The Court addresses each.

I.      Summary Judgment

        A.   Legal Standard

        Federal Rule of Civil Procedure 56 provides that a court “shall grant

summary judgment if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). A fact is material if it “might affect the

outcome of the suit under the governing law.” W. Grp. Nurseries, Inc. v.

Ergas, 167 F.3d 1354, 1360 (11th Cir. 1999) (citing Anderson, 477 U.S. at

248).     A factual dispute is genuine “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Id. at

1361 (citing Anderson, 477 U.S. at 248).

        The party moving for summary judgment bears the initial burden

of showing the court, by reference to materials in the record, that there



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is no genuine dispute as to any material fact.        Hickson Corp. v. N.

Crossarm Co., 357 F.3d 1256, 1260 (11th Cir. 2004) (citing Celotex Corp.

v. Catrett, 477 U.S. 317, 323 (1986)). The nonmoving party then has the

burden of showing that summary judgment is improper by coming

forward with “specific facts” showing there is a genuine dispute for trial.

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587

(1986) (citing Fed. R. Civ. P. 56(e)). Ultimately, there is no “genuine issue

for trial” when “the record taken as a whole could not lead a rational trier

of fact to find for the non-moving party.” Id. (citing First Nat’l Bank of

Ariz. v. Cities Serv. Co., 391 U.S. 253, 289 (1968)). “[T]he mere existence

of some alleged factual dispute between the parties will not defeat an

otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact.” Anderson,

477 U.S. at 247–48. A district court must “resolve all reasonable doubts

about the facts in favor of the non-movant[] and draw all justifiable

inferences in his or her favor.” Fitzpatrick v. City of Atlanta, 2 F.3d 1112,

1115 (11th Cir. 1993) (alteration adopted) (quoting United States v. Four

Parcels of Real Prop., 941 F.2d 1428, 1437 (11th Cir. 1991)).




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     B.    The Court’s Use of Proposed Facts and Responses

     The Court draws the facts largely from the parties’ submissions. In

support of its motion for summary judgment, Defendant SAC filed a

statement of undisputed material facts (Dkt. 71-1). See LR 56.1(B)(1),

NDGa. Plaintiff responded to Defendant SAC’s statement of material

facts (Dkt. 91). See LR 56.1(B)(2)(a). Plaintiff also filed a separate

statement of facts that it contends are material and present genuine

issues for trial (Dkt. 92). See LR 56.1(B)(2)(b). Defendant SAC responded

to Plaintiff’s statement of additional facts (Dkt. 100). See LR 56.1(B)(3).

     The Court uses the parties’ proposed facts and responses as follows.

When a party does not dispute the other’s fact, the Court accepts it for

purposes of summary judgment and cites the proposed fact and

corresponding response. When one side admits a proposed fact in part,

the Court includes the undisputed part. When one side denies the other’s

proposed fact in whole or in part, the Court reviews the record and

determines whether a fact dispute exists. If the denial lacks merit, the

Court deems the fact admitted so long as the record citation supports it.




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If a fact is immaterial, it is excluded.1 If a fact is stated as an issue or

legal conclusion, it is excluded. See LR 56.1(B)(1)(c). Where appropriate,

the Court modifies one party’s fact per the other’s response when the

latter better reflects the record. Finally, as needed, the Court draws some

facts directly from the record. See Fed. R. Civ. P. 56(c)(3) (“The court

need consider only the cited materials, but it may consider other

materials in the record.”).

     C.    Background Facts

     In 2018, a company known as SLC owned the Westin hotel. (Dkts.

71-1 ¶ 9; 91 ¶ 9; 92 ¶ 2; 100 ¶ 2.) It contracted with Defendant SAC for

various construction projects including the installation of a handrail on

the hotel roof.   (Dkts. 71-1 ¶ 1; 91 ¶ 1.)     Defendant SAC, in turn,

subcontracted with Defendant SRC to install the handrail. (Dkts. 71-1 ¶

2; 91 ¶ 2; 92 ¶ 12; 10 ¶ 12.) Defendant SRC prepared the plans to install




1 Some proposed facts the Court declines to exclude on materiality
grounds are not “material” as that term is generally employed in the
summary judgment context. See Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 248 (1986) (identifying material facts as those that “might
affect the outcome of the suit under the governing law”). Some are
included for background purposes or to generate context for the Court’s
analysis. Which facts ultimately prove material should be apparent from
the analysis.

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the handrail, prefabricated the handrail in its own metal shop, and

brought it to the hotel for installation. (Dkts. 71-1 ¶¶ 3–4; 91 ¶¶ 3–4.)

Defendant SRC also supplied its own employees to perform the work and

did the work according to its own plans and methods of installation.

(Dkts. 71-1 ¶¶ 5, 6; 91 ¶¶ 5, 6.) Every morning before Defendant SRC

started working on the railing, it contacted Stacey Flannigan (one of

Defendant SAC’s employees) to get on the roof. (Dkts. 71-1 ¶ 7; 91 ¶ 7.)

Mr. Flannigan checked to make ensure Defendant SRC had fire

extinguishers and fall protection but was not involved in the installation

process. (Dkts. 71-1 ¶ 8; 91 ¶ 8.)

     On March 15, 2018, Defendant SRC was at the Westin performing

so-called “hot work” (welding and grinding) on the roof as part of the

handrail installation project. (Dkts. 71-1 ¶ 12; 91 ¶ 12.) While they were

doing so, a fire started and burned within and through the hotel’s laundry

lint exhaust shaft.   (Dkts. 71-1 ¶ 10; 91 ¶ 10.)       Plaintiff contends

Defendant SRC started the fire by allowing a spark from welding or

grinding to fall into the laundry lint exhaust shaft and ignite

accumulated lint within the laundry system. (Dkts. 71-1 ¶ 13; 91 ¶ 13.)

For their part, Defendants contend the hotel had a problem with dryer



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lint which may have caused the fire (as it had several times before). They

also claim the hotel’s fire suppression system failed to work properly,

thus allowing the fire to spread more than it should have.

       Plaintiff Zurich claims it insured the Westin and indemnified the

hotel for losses from the fire totaling $894,803. (Dkts. 71-1 ¶ 15; 91 ¶ 15.)

The breakdown of the payments is described in Plaintiff’s statement of

loss. (Dkts. 71-1 ¶ 16; 91 ¶ 16.) One payment for $269,617 was for two

laundry folder machines damaged in the fire. (Dkts. 71-1 ¶ 19; 91 ¶ 19.)

Plaintiff also paid Marriott $435,819 ($454,421 minus $18,602 in ironer

repairs) in replacement value for personal property and equipment

damaged at the hotel without any deduction for depreciation. (Dkts. 71-1

¶ 29; 91 ¶ 29.) Finally, it paid Marriott $27,286 in replacement value for

VAT flooring in the laundry room, which was at least six years old,

without deducting for depreciation. (Dkts. 71-1 ¶¶ 30–31; 91 ¶¶ 30–31.)

2   After making the payments, Plaintiff brought this subrogation lawsuit




2 Defendant SAC refers to the flooring as “VAT flooring” in its motion for
summary judgment (Dkt. 71) and statement of material facts (Dkt. 71-1).
Plaintiff and Defendant SAC, however, refer to the flooring as “VCT
flooring” in their response and reply briefs. (Dkts. 93; 101.) The
distinction is immaterial for the Court’s Order, but for consistency, the
Court will refer to the flooring as “VAT flooring.”

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against Defendant SAC for breach of contract and against both

Defendant SAC and Defendant SRC for negligence. (Dkt. 1.)

     D.    Discussion

           1.    Negligence

     Plaintiff sued Defendant SAC for negligence, alleging Defendant

breached its duty by (acting through Defendant SRC) to cause the fire in

the laundry system. (Dkt. 1 ¶ 22.) “It is well established that to recover

for injuries caused by another’s negligence, a plaintiff must show four

elements: a duty, a breach of that duty, causation, and damages.” Collins

v. Athens Orthopedic Clinic, PA, 837 S.E.2d 310, 312 (Ga. 2019). The lack

of a genuine issue of material fact on any of the elements requires entry

of summary judgment for the defendant. Patterson v. Wright, 840 S.E.2d

762, 763 (Ga. Ct. App. 2020). Defendant SAC argues it is entitled to

summary judgment because there is no genuine issue of material fact as

to duty. (Dkt. 71-2 at 11.)

     Under Georgia law, “[a] person who engages an independent

contractor is generally not responsible for any torts committed by the

independent contractor.” Green v. Home Depot U.S.A., Inc., 627 S.E.2d




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836, 839 (Ga. Ct. App. 2006); see also O.C.G.A. § 51-2-4. An employer,

however, can be held liable for an independent contractor's negligence:

     (1) When the work is wrongful in itself or, if done in the
     ordinary manner, would result in a nuisance;

     (2) If, according to the employer's previous knowledge and
     experience, the work to be done is in its nature dangerous to
     others however carefully performed;

     (3) If the wrongful act is the violation of a duty imposed by
     express contract upon the employer;

     (4) If the wrongful act is the violation of a duty imposed by
     statute;

     (5) If the employer retains the right to direct or control the
     time and manner of executing the work or interferes and
     assumes control so as to create the relation of master and
     servant or so that an injury results which is traceable to his
     interference; or

     (6) If the employer ratifies the unauthorized wrong of the
     independent contractor.

O.C.G.A. § 51-2-5. Plaintiff does not dispute that Defendant SRC is an

independent contractor.    Instead, Plaintiff argues Defendant SAC is

liable for Defendant SRC’s negligence under subsections (3) and (4).3




3 Because the Court finds there is a dispute on whether Defendant SAC
is liable for Defendant SRC’s negligence under O.C.G.A. § 51-2-5(3), the
Court need not address whether there is a dispute as to whether
Defendant SAC is also liable under O.C.G.A. § 51-2-5(4).

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(Dkt. 93 at 5.) Plaintiff also contends Defendant SAC expressly agreed

to be responsible for any negligence by Defendant SRC. (Id.)

     Liability under subsection (3)—that is, liability imposed by express

contract upon the employer—recognizes the fundamental principle that

“where a person contracts to do a certain thing, he cannot evade liability

by employing another to do that which he has agreed to perform.”

Crispens Enter., Inc. v. Halstead, 433 S.E.2d 353, 355 (Ga. Ct. App. 1993)

(quoting Atlanta & Fla. R. Co. v. Kimberly, 13 S.E. 277, 278 (Ga. 1891)).

Defendant SAC concedes that it had a contract with the Westin (through

SLC) and that the contract (specifically Charge Order 03C) required it to

add “New Square HSS Tube Rail (2” x 2” x ¼”)” safety handrail on the

tenth floor of the Westin. (Dkts. 71-1 ¶ 1; 91 ¶ 1; 92 ¶ 11; 100 ¶ 11.)

Defendant SAC subcontracted that work to Defendant SRC. (Dkts. 71-1

¶ 2; 91 ¶ 2; 92 ¶ 12; 10 ¶ 12.) But Defendant SAC cannot escape the

consequences of breaching an express obligation to Plaintiff simply by

hiring a subcontractor.     See French v. Sinclair-Oconee Homes of

Milledgeville, LLC, 658 S.E.2d 226, 227 (Ga. Ct. App. 2008). The contract

to install the handrail, “with its attendant obligations,” was between

Defendant SAC and SLC, not between Plaintiff and an independent



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contractor. Hudgins v. Bacon, 321 S.E.2d 359, 366 (Ga. Ct. App. 1984);

see also Nulite Indus. Co. v. Horne, 556 S.E.2d 255, 257 (Ga. Ct. App.

2001) (“[Defendant] does not dispute that by written agreement with

[plaintiff], it undertook to install the siding and windows. Therefore, it

may not escape liability by arguing that it employed an independent

contractor to perform its obligations.”). The Court thus denies Defendant

SAC’s motion for summary judgment as to Plaintiff’s negligence claim.4

           2.    Breach of Contract

     Plaintiff sued Defendant SAC for breach of contract, alleging

Defendant SAC breached its contractual duties by, acting through


4 Plaintiff also argues Defendant SAC expressly assumed liability for the
negligence of Defendant SRC and expressly assumed responsibility for
complying with all applicable laws, statutes, rules, ordinances, and
regulations. (Dkt. 93 at 7, 11.) As part of this, Plaintiff quotes provision
8.01 from the “General Conditions to the Major Construction” agreement
which it contends is between the Westin and Defendant SAC. (Id.) The
provision states, “[c]ontractor shall be fully liable for the negligent acts,
errors, omissions and willful misconduct of Contractor and any of its
subcontractors.” (Id. at 7.) There is, however, a dispute about whether
the quoted contract is the relevant contract between Defendant SAC and
SLC because Defendant SAC contends it did not sign that document.
(Dkt. 100 ¶ 14.) As to Defendant SAC’s compliance with applicable laws,
Plaintiff quotes provision 1.01 from the agreement. (Dkt. 93 at 11.) But
again, there is a dispute on whether this contract is the relevant contract
between Defendant SAC and SLC. (Dkt. 100 ¶ 13.) In the light of that
factual dispute, the Court also denies Defendant SAC’s motion for
summary judgment on Plaintiff’s negligence claim.

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Defendant SRC, igniting a fire in the laundry room of the hotel. (Dkt. 1

¶ 19.) Again, Defendant SAC concedes it had a contract with the Westin

hotel (through SLC) but moves for summary judgment, contending

Plaintiff cannot articulate a cognizable breach of contract claim for which

it has standing. (Dkt. 71-2 at 13.) Specifically, Defendant SAC argues

Plaintiff has not identified the operative contract. It also argues that

there is no evidence Plaintiff’s insured (Marriott) was a party to any

contract with it or that Plaintiff otherwise obtained the right to bring an

action for the Westin’s/SLC’s alleged loss. (Id.)

     “Subrogation is [t]he substitution of one person in the place of

another with reference to a lawful claim, demand or right, so that he who

is substituted succeeds to the rights of the other in relation to the debt or

claim, and its rights, remedies, or securities.” Fin. Sec. Assur., Inc. v.

Stephens, Inc., 500 F.3d 1276, 1287 (11th Cir. 2007) (quoting Jones v.

Motor Co. v. Anderson, 602 S.E.2d 228, 230 (Ga. Ct. App. 2004)).

Subrogation rights can arise from equity, contract, or statute. See Jones

Motor Co., 602 S.E.2d at 230. Plaintiff contends that, in provisions 1.01

and 8.01 of the “General Conditions to the Major Construction”

agreement, Defendant SAC agreed that it would be responsible under the



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contract not only to SLC, but also to Marriott. (Dkt. 93 at 13.) Section

1.01 states the contractor would “defend, indemnify and hold harmless

Owner and Manager and each of their related companies” for code

violations. (Dkts. 92 ¶ 13; 100 ¶ 13.) Section 8.01 states the contractor

would “indemnify, defend and hold harmless Owner, Marriott

International, Inc.” for the negligence of any subcontractors. (Dkts. 92 ¶

14; 100 ¶ 14.) There appears to be a dispute about the relevant contract.

While conceding a contracted existed, Defendant SAC argues the quoted

contract is not relevant because it did not sign that alleged contract.

(Dkt. 100 ¶ 10.) But Defendant identified the “General Conditions to the

Major Construction” agreement as the relevant contract during

discovery. And even if this identification is not enough, there is a genuine

dispute as to whether this is the relevant, enforceable contract. And,

again, Defendant admits it had a contract with SLC. The Court thus

denies Defendant SAC’s motion for summary judgment on the grounds

Plaintiff has failed to identify an enforceable contract.5


5Plaintiff also argues even though it did not obtain a formal assignment
of claim, because it paid a claim on behalf of its insured, it has an
equitable right to pursue subrogation. (Dkt. 93 at 14.) Because the Court
denies Defendant SAC’s motion for summary judgment on other grounds,
the Court does not address this argument.

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     Having identified disputed facts as to Marriott’s contractual rights,

Plaintiff must still show that it has a right to assert claims (on

Marriot’s/SLC’s behalf) for damages arising from the fire. An insurance

company can only seek subrogation for losses it was legally obligated to

pay. As part of this, Georgia law provides that “[n]o insurance contract

on property or of any interest therein or arising therefrom shall be

enforceable except for the benefit of persons having, at the time of the

loss, an insurable interest in the things insured.” O.C.G.A. § 33-24-4(b).

An “insurable interest” means “any actual, lawful, and substantial

economic interest in the safety or preservation of the subject of the

insurance free from loss, destruction, or pecuniary damage or

impairment.” O.C.G.A. § 33-24-4(a).

     An insurance company thus cannot seek subrogation for voluntary

payments outside of an insurable interest.          So-called “voluntary

payments” are “[p]ayments of claims made through ignorance of the law

or where all the facts are known and there is no misplaced confidence and

no artifice, deception, or fraudulent practice used by the other party.”

O.C.G.A. § 13-1-13. These payments “cannot be recovered unless made

under an urgent and immediate necessity therefor or to release person or



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property from detention or to prevent an immediate seizure of person or

property.” Id. “The general rule is that an insurer’s voluntary payment

to its insured does not give rise to a right of subrogation.” S. Mut. Church

Ins. Co. v. ARS Mech., LLC, 703 S.E.2d 363, 366 (Ga. Ct. App. 2010). A

party seeking to recover payment—for example, an insurance company

seeking subrogation—bears the burden of showing the voluntary

payment doctrine does not apply. Id.6

      Defendant SAC contends the record contains no evidence Marriott

has an insurable interest in the hotel and personal property damaged in

the fire. More specifically, Defendant SAC says Plaintiff paid Marriott


6 In response to Defendant SAC’s motion for summary judgment, Plaintiff
filed an assignment and ratification agreement signed by SLC and
purporting to assign to Plaintiff all SLC’s rights to recovery against
Defendant SAC. (Dkts. 92-4; 93-5.) Defendant SAC says the Court
should not consider the document because it was not produced during
discovery. The Court agrees. Federal Rule of Civil Procedure 37 states
that “[i]f a party fails to provide information . . . as required by Rule 26(a)
or (e), the party is not allowed to use that information . . . to supply
evidence . . . unless the failure was substantially justified or is harmless.”
Fed. R. Civ. P. 37(c)(1). Defendant SAC requested “[a]ny and all
agreements drafted, exchanged, or executed that relate to assignment of
claims arising from the subject property damage described in Plaintiff’s
Complaint.” (Dkt. 71-12 ¶ 20.) Plaintiff responded, directing Defendant
SAC to the insurance policy. (Id.) It did not produce the assignment and
Plaintiff has failed to show that its failure to do so was justified or
harmless. See Mitchell, 318 F. App’x at 824. The Court does not consider
it.

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for damages to the Westin Hotel (owned by SLC) pursuant to an

insurance contract Plaintiff had with Marriott but the record contains no

evidence Marriott actually had any insurable interest in the Westin

hotel. (Dkt. 71-2 at 15.) It says, “[t]here is no dispute that the real

property was owned by SLC, an entity other than Marriott.” (Id. at 17.)

It argues Plaintiff made payments to Marriott without seeing any

documents showing Marriott had an ownership interest in SLC. (Id.)

Defendant SAC also contends Plaintiff made payments for personal

property damage even though the equipment in the laundry was owned

by SLC, not Marriott. (Id. at 18.) As a result of all this, Defendant SAC

says the record evidence shows Plaintiff’s payments to Marriott were

non-recoverable, voluntary payments.

     Plaintiff tried to clarify this at summary judgment with a

declaration from Horace Jordan (a Marriot employee), stating

unequivocally the Westin hotel is a wholly owned Marriott property and

that Marriott is the “100% ultimate owner of all real and personal

property of the hotel.” (Dkt. 91-2 ¶¶ 5–6.) Defendant says Plaintiff

should not be able to use this declaration because Plaintiff failed to

disclose Mr. Jordan as a witness during discovery. The Court agrees.



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     Federal Rule of Civil Procedure 26(a)(1)(A)(i) requires a party to

disclose “the name and, if known, the address and telephone number of

each individual likely to have discoverable information—along with the

subjects of that information—that the disclosing party may use to

support its claims or defenses, unless the use would be solely for

impeachment.” Fed. R. Civ. P. 26(a)(1)(A)(i). The disclosure rule is

enforced through Rule 37(c)(1), which provides that “[i]f a party fails to

provide information or identify a witness as required by Rule 26(a) or (e),

the party is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was

substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). And,

under Rule 26(e)(1)(A), supplementation of incorrect responses is

required. Thus, “the obligation to disclose pertinent parties is continuing

[throughout the case].” F.T.C. v. Nat’l Urological Grp., Inc., 645 F. Supp.

2d 1167, 1179 (N.D. Ga. 2008).      The non-disclosing party bears the

burden of showing that the failure to comply with Rule 26 was

substantially justified or harmless. Mitchell v. Ford Motor Co., 318 F.

App’x 821, 824 (11th Cir. 2009).




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     Defendant SAC repeatedly asked for discovery regarding Westin’s

ownership. (See Dkts. 71-12 ¶¶ 21–22; 50 at 2–3; 51-1 at 4.) Plaintiff did

not disclose Mr. Jordan as a person with information to support

Plaintiff’s claims in its initial disclosures or in response to Defendants’

discovery requests. Plaintiff withheld Mr. Jordan’s name until April 14,

2021 when it responded to Defendant SAC’s motion for summary

judgment. (Dkts. 91-2; 91-4; 92-1; 92-3.) That was more than one month

after the discovery period had expired.       Even if unintentional and

accidental, Plaintiff’s conduct was not justified or harmless.          But,

regardless, the information contained in the Jordan Declaration was also

provided by Marriott’s 30(b)(6) deponent. Specifically, Ronald Tarson,

testified that SLC is a wholly-owned subsidiary of Starwood Hotels, LLC,

which is a wholly-owned subsidiary of Marriott.7 (Dkts. 72-1 at 87:6–10;


7 Defendant SAC objects to this fact “because [the deponent] does not
have personal knowledge to support this contention. . . . [The deponent]
denied having any knowledge of any documents supporting his
contention or any way of proving the alleged ownership structure.” (Dkt.
100 ¶ 3.) Mr. Tarson testified that he did not know if there were any
documents that reflect the relationship between Marriott and SLC. (Dkt.
72-1 at 87:11–14.) But the lack of knowledge about documentation does
not equate to lack of knowledge about the relationship. In reaching the
conclusion that Mr. Tarson’s testimony is sufficient to create an issue of
fact, the Court understands that Plaintiff produced no documents


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92 ¶ 3; 100 ¶ 3.) This testimony is sufficient to raise an issue of material

fact as to whether Marriot had an insurable interest in the Westin hotel.

     Defendant SAC also says Plaintiff has not presented evidence

showing the Westin hotel was an insured location under the policy. (Dkt.

71-2 at 17–18.) In other words, it says, even if Marriott owned the hotel,

the record contains no evidence the hotel (and personal property in it)

were covered by Plaintiff’s insurance agreement with Marriott. Plaintiff,

again, addressed this at summary judgment with a new declaration, this

one from Amadou Njie. (Dkt. 91-4.) That declarant, Marriott’s Director

of Insurance Placement, testified by declaration that “[t]he Westin

Peachtree Plaza Hotel at 210 Peachtree Street, N.C., Atlanta, Georgia is

a scheduled location (location #183) on the schedule of value for Marriott

International, Inc.’s insurance policy with [Plaintiff].” (Id. ¶ 3.) Attached

to the declaration is also “an extract from the schedule of values showing

The Westin Peachtree Plaza Hotel as location 183.” (Id. at 2–3.)




showing Marriott has an ownership interest in SLC or any of the real or
personal property damaged at the Westin. (Dkts. 71-1 ¶ 22; 91 ¶ 22.) In
addition, Plaintiff’s claim file produced to Defendant SAC has no
documents reflecting Marriott’s alleged ownership in SLC. (Dkts. 71-1 ¶
26; 91 ¶ 26.) It may not be really strong evidence, by Mr. Tarson’s
testimony is enough to avoid summary judgment.

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     While Defendant says this declaration should be excluded for the

same reasons the Court excludes Mr. Jordan’s declaration, the Court

disagrees. At a hearing on January 18, 2022, Defendant conceded that

Amadou Njie was identified in claim files Plaintiff produced during

discovery. (January 18, 2022 Tran at 2.)8 Defendant also conceded

Plaintiff disclosed the schedule of values, which lists the Westin as an

insured location, during discovery and in advance of Westin’s 30(b)(6)

deposition. Indeed, Plaintiff identified it as part of the insurance policy

and said it should be considered “a supplement to [Plaintiff’s] previous

document production.” (Tran, at 5–7; Dkt. 91-7.). As a result, the Court

will consider the schedule of values, which specifically identified the

Westin hotel as an insured location.      Doing so, and for the reasons

discussed in the January 18, 2022 hearing, the Court denies Defendant

SAC’s motion for summary judgment.9


8 The Court cites to the page of a rough transcript it obtained as the
parties have not yet ordered or filed a final version of the transcript.
9 Defendant SAC also makes a one-sentence argument that “there is no

evidence in the record showing how the laundry folders were damaged,
what was wrong with them, and why they could not be simply fixed
rather than replaced.” (Dkt. 71-2 at 19.) But this is incorrect. Plaintiff’s
independent adjuster went to the Westin, inspected the laundry folders,
saw they were damaged, and determined the cost of repairs exceeded the


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     As a final argument, Defendant SAC asks the Court to hold

Plaintiff has not provided sufficient evidence to calculate its damages in

connection with the personal property damages of $435,819. (Dkt. 71-2

at 20–23.)10 Alternatively, it says the Court should hold that Plaintiff

cannot recover replacement value for the personal property.             (Id.)

Plaintiff contends it need not show the fair market value of real property

and replacement costs are recoverable. (Dkt. 93 at 19.)

     “Where tangible personal property has been damaged or destroyed,

the plaintiff has the burden of furnishing evidence sufficient to enable

the jury to calculate the amount of damages with reasonable certainty

without speculation.” Champion v. Dodson, 587 S.E.2d 402, 404 (Ga. Ct.

App. 2003).   To “[m]erely list . . . the damaged items, along with a



cost of replacement. (Dkt. 91-6 at 7.) Defendant SAC also contends
Plaintiff “cannot provide any details” regarding $130,021 of damages for
“the steam press, condensate pump motors, [and] scaffolding.” (Dkt. 71-
2 at 19.) But Plaintiff’s independent adjuster determined scaffolding
needed to enter the exhaust shaft to remove destroyed asbestos
insulation and damage to the ductwork was a total loss with damage to
the motors and steam presses. (Dkt. 91-6 at 6–7.)
10 Defendant SAC initially raised an issue regarding Plaintiff’s claim for

loss associated with VAT floor without deducting for depreciation. But,
in its reply brief, Defendant SAC “admits damages to the structure of the
building in this case, such as the VCT flooring or ductwork, probably
would be subject to repair costs without depreciation because it was part
of the building.” (Dkt. 101 at 7.)

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monetary figure estimating replacement cost based entirely upon [an]

original purchase price” is insufficient to establish damages. Id. at 405.

In other words, “[e]vidence of the retail purchase price of property alone

is not sufficient to establish the fair market value of the property at the

time of the loss.” Id. at 404. It is “the age and condition of the property,

the fair market value at the time of loss, the condition immediately after

the loss, and the fair market value immediately after the loss [that] must

be proven to establish the damages.” Id.

      “As a general rule, damages for defective construction, whether

those damages are the result of a breach of contract or negligence of the

contractor, are determined by measuring the cost of repairing or

restoring the damage, unless the cost of repair is disproportionate to the

property’s probable loss of value.” John Thurmond & Assocs., Inc. v.

Kennedy, 668 S.E.2d 666, 668 (Ga. 2008). “While the correct measure of

damages for injury to realty itself is the difference in value of the property

before and after the injury, the appropriate measure of damages if the

injury is solely to the structure or building is the cost of the repairs.”

BellSouth Telecomms., Inc. v. Helton, 451 S.E.2d 76, 79 (Ga. Ct. App.

1994).



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     Defendant SAC challenges the recovery for personal property and

the laundry folders, which Defendant SAC characterizes as personal

property. As to the personal property (excluding the laundry folders),

Defendant SAC contends many items remain unspecified or unsupported

by evidence.      (Dkt. 71-2 at 21.)       Plaintiff contends “estimates,

comparisons, and opinions of others” as well as photographs, will “enable

the jury to form their own opinion as to the damages alleged.” Oglethorpe

Realty Co. v. Hazzard, 321 S.E.2d 820, 822 (Ga. Ct. App. 1984). This

seems to be an issue for trial.

     Plaintiff contends the laundry folders are fixtures, that is real

property rather than personal property. (Dkt. 93 at 22.) Under Georgia

law fixtures are realty (not personal property) and consist of “[a]ll things

permanently attached to land or to the buildings thereon.” O.C.G.A. § 44-

1-2(a)(2). “Anything which is intended to remain permanently in its place

even if it is not actually attached to the land is a fixture which constitutes

a part of the realty and passes with it.” O.C.G.A. § 44-1-6(a). “Machinery

which is not actually attached to the realty but is movable at pleasure is

not a part of the realty[] [and] [a]nything detached from the realty

becomes personalty instantly upon being detached.” § 44-1-6 §§(b)–(c).



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Whether a particular piece of personal property has become a fixture

requires analysis of three distinct factors. First, the Court must consider

the degree of physical attachment and removability of the article. See

Homac v. Fort Wayne Mortg. Co., 577 F. Supp. 1065, 1069 (N.D. Ga.

1983). Second, it must consider the intention of the parties with respect

to the article’s status. See id. Third, the Court should consider whether

the requisite unity of title between the personalty and the realty was

present at the time the article allegedly became a fixture. See id. at 1070.

     Plaintiff contends the laundry folders are large pieces of equipment

that are attached to the building, not easily manipulated or moved.

(Dkts. 93 at 22; 91-8 at 3.) Defendant SAC argues Plaintiff’s intent, as

expressed by Plaintiff’s employees, that the laundry folders were

“personal property/equipment” is telling and shows the articles were not

fixtures. (Dkts. 101 at 8; 73-1 at 55:19–56:8.) The Court finds there is a

genuine issue of material fact about personal property, including the

fixture doctrine.   The parties can raise these issues at the close of

evidence, but the Court cannot grant summary judgment as to

replacement costs on the record before it.




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II.   Motions Other Than For Summary Judgment

      A.   Motion To Exclude Incident Reports and Article

      Defendant SAC retained an expert witness, Christopher Porto, to

investigate the fire, determine the cause of the fire, and identify

contributing factors in the spread of the fire. (Dkt. 70-1 at 6.) As part of

his analysis, Mr. Porto reviewed three incident reports from the City of

Atlanta Fire Department about previous fires in the hotel’s dryer duct

system. One incident report, from a March 15, 2018 fire, included a

statement that the fire was possibly caused by “buildup of lint in duct

chute from dryer. Ignited by heat from Dryer” and that “no human

factors contributed to the ignition.” (Dkt. 70-2 at 4, 6.) The two other

reports, from fires in July 2008 and March 2011, stated the fires ignited

from “radiated, conducted heat” and that “no human factors contribut[ed]

to [the] ignition.” (Dkts. 70-3 at 4; 70-4.) He also relied upon a newspaper

article discussing yet another fire in a dryer vent, that one occurring in

May 1997. (Dkt. 70-1 at 20.) He also examined the duct work at issue

and several fire dampers that had been installed at the time of the fire.

(Id. at 14.) Mr. Porto ultimately authored a report expressing his opinion

the fire could have started as a result of either the hot work Defendant



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SRC’s employees were performing on the roof or from the laundry room

equipment. (Id. at 21, 24.) Since he could not exclude either source of

the fire, he concluded the cause of the fire was “undetermined.” (Id.) He

further concluded the hotel’s failure to limit the accumulation of lint in

the exhaust ductwork contributed to the spread of the fire. (Id. at 24.)

Finally, he concluded the hotel’s alteration of one or more fire dampers

and failure properly to inspect and test the dampers also contributed to

the spread of the fire. (Id. at 24.)

      Plaintiff moves to exclude evidence of the incident reports and

newspaper article at trial. (Dkt. 70.) Plaintiff says the reports should be

excluded because the firefighters who prepared them were not disclosed

or qualified as fire causation experts. (Id. at 6.) The incident reports

include factual details as well as conclusions about the origin and

causation of the fires. (Dkts. 70-2; 70-3; 70-4.) Plaintiff does not dispute

the factual information within the reports, but argues Defendant SAC

many not introduce new expert opinions of causation through the reports.

(Dkt. 97 at 2.) Defendant SAC responds arguing its fire expert can rely

on hearsay evidence and, alternatively, the reports are excepted from

hearsay. (Dkt. 86 at 4–6.)



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     Expert witnesses may base their opinions on inadmissible evidence

if other experts would reasonably rely on that evidence in forming an

opinion. See Fed. R. Evid. 703. Put differently, “an expert may rely on

hearsay evidence as part of the foundation for his [or her] opinion so long

as the hearsay evidence is ‘the type of evidence reasonably relied upon by

experts in the particular field in forming opinions or inferences on the

subject.’” Knight through Kerr v. Miami-Dade Cnty., 856 F.3d 795, 809

(11th Cir. 2017) (quoting United States v. Scrima, 819 F.2d 996, 1002

(11th Cir. 1987)). Mr. Porto testified by declaration that fire causation

experts generally consider reports of prior fires at a location when

forming opinions or inferences on the cause and origin of a fire. (Dkt. 79-

1 ¶ 4.) He considers causation information in a prior-incident report as

a possible cause and then performs further investigation. (Dkt. 81-1 at

41:14–42:8.) He did that here. He relied on a lot of information, including

the fire incident reports, photographs and videos from the scene of the

fire and of the laundry duct work after the fire, an inspection of the

laundry room he conducted, and an examination he made of the dampers

and duct work after they had been removed from the hotel. (Dkt. 56-1 at

6–7, 10.) The Court finds Mr. Porto may rely on these incident reports.



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But, in order to avoid confusion and unfair prejudice (and as explained

below), the Court exercises its discretion under Federal Rule of Evidence

403 to exclude information from the report and any expert testimony

regarding the responding firefighters’ hypotheses about the causes of the

prior fires.

      Defendant SAC also contends the incident reports are excepted

from hearsay and can be reduced to an admissible form at trial. (Dkt. 86

at 5–7.)   Defendant SAC argues the reports fall within the hearsay

exceptions for public records and business records. (Id. at 5–6.) Both the

public records and business records exceptions have a requirement that

“the opponent does not show that the possible source of the information

or other circumstances indicate a lack of trustworthiness.” See Fed. R.

Evid. 803(6); (8).11 Plaintiff contends the first responders were not at the

scene to investigate the cause of the fire, were not present when the fire

started, and have no special skills or experience in making causation

determinations regarding fires. (Dkt. 97 at 4.)


11 To evaluate trustworthiness, courts look at a nonexhaustive list of four
factors: the timeliness of the investigation, the investigator’s
skill/experience, whether a hearing was held, and possible bias. Beech
Aircraft Corp. v. Rainey, 488 U.S. 153, 167 n.11 (1988). But, again that
list is not exhaustive and the Court finds it largely inapplicable here.

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     While firefighters’ special skills and experience fighting fires are

extremely important, the Court agrees they have no (readily-apparent)

skills or experience in making causation determinations.12 The incident

reports buttress this conclusion. They include detailed facts as to the

firefighter’s movements on the days of the fires—where they went, what

they saw, and what they did. All of that is fine. Nothing in the reports,

however, suggest the firefighters did anything to determine the causes of

the fires. The absence of any such information (let alone information on

each specific firefighter’s expertise to provide such an opinion) supports

Plaintiff’s contention that the opinions are not trustworthy. Because

Plaintiff has shown the source of information indicates a lack of

trustworthiness, the Court finds the portion of the fire incident reports

containing causation information are inadmissible and must be redacted.




12The Court notes Defendant SAC also fails to meet its burden of proving
that a hearsay exception exists. See United States v. Kennard, 472 F.3d
851, 856 (11th Cir. 2006). Defendant SAC merely reiterates the elements
required to establish the public records exception and only state the fire
incident reports “are also business records.” (Dkt. 86 at 5–6.) Defendant
SAC also claims it could call the report preparers at trial. (Id. at 6–7.)
While the authors could testify as to their factual observations, they are
not entitled to testify as new, not properly disclosed, expert witnesses.
Calling the preparers also would not make the written reports
admissible.

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The same is true of Mr. Porto’s testimony. He may testify about the

content of the reports, except the causation determinations.

     Plaintiff argues the Atlanta journal newspaper article should also

be excluded as hearsay. Hearsay is a statement, other than one made by

the declarant while testifying at trial or hearing, offered in evidence to

prove the truth of the matter asserted.         See Fed. R. Evid. 801(c).

“Defendant is correct in noting that [an article is] not admissible if offered

to prove the truth of the matters contained in [the article]. Newspaper

articles, in general, are classic hearsay when offered primarily to prove

the truth of the matters therein.” Moon v. Advanced Medical Optics, Inc.,

No. 4:08-CV-0021, 2010 WL 11509121, at *2 (N.D. Ga. Dec. 29, 2010).

Here, Defendant SAC seeks to use the article to establish there was a

dryer fire—the truth of the matter in the article. The article is thus

hearsay.

     Defendant SAC contends the article is admissible as a business

record pursuant to Fed. R. Evid. 803(6). (Dkt. 86 at 6.) A strange

argument from an experienced lawyer. A newspaper article is a product

of the newspaper business, as distinguished from a record maintained by

the paper for the purpose of conducting its business. See Fed. R. Evid.



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803(6). The article is, therefore, not a business record and the Court

grants Plaintiff’s motion to exclude it.

     Defendant SAC next argues the Court should defer ruling on

exclusion of the article because it could reduce the article to admissible

form before trial. (Dkt. 86 at 6.) They argue the witness identified in the

article could testify about her factual observations on the day of the fire.

(Id. at 6–7.) That is true. The Court is not excluding evidence of the fire,

just the use of a newspaper article.

     Plaintiff also objects to Mr. Porto’s use of the article to establish

that the hotel had a lint housekeeping problem. (Dkt. 70 at 8.) Mr. Porto,

seeming to justify his reliance on the article, testified by declaration that

“[a]dditional information collected during the course of [his] investigation

pertaining to other fire incidents at the hotel within the laundry room

such as the Atlanta Journal Constitution article should also be

considered in this analysis.” (Dkt. 79-1 ¶ 4.) This does not show that

qualified fire cause and origin experts customarily rely on newspaper

articles when determining the origin and cause of a fire. The Court thus

finds Mr. Porto may not discuss the article at trial. See Knight through

Kerr, 856 F.3d at 809 (“An expert may rely on hearsay evidence as part



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of the foundation for his opinion so long as the hearsay evidence is ‘the

type of evidence reasonably relied upon by experts in the particular field

in forming opinions or inferences on the subject.’” (quoting Scrima, 819

F.2d at 1002)).13

     B.     Spoliation

     Both Plaintiff and Defendant SAC filed motions for spoliation

sanctions. (Dkts. 69; 88.) Plaintiff moves to exclude evidence of allegedly

inoperative fire dampers. (Dkt. 69.) Defendant SAC moves for spoliation

sanctions in the form of a negative inference and exclusion of expert

testimony. (Dkt. 88.) After consideration of the parties’ briefings and

argument at the January 18, 2022 hearing, the Court denies both

motions, finding there is no basis to believe either party spoliated

evidence.


13 To be clear, the facts surrounding the previous fires are admissible.
This could even include evidence the Westin was aware of the alleged
cause of the fires, if there is evidence of such knowledge. In other words,
the Court is not excluding evidence that someone at Westin saw the
reports or the newspaper articles and gained some relevant knowledge
from them. The Court simply finds Mr. Porto may not admit the
causation findings in the reports or the facts alleged in the article during
his testimony. The same is true of the alleged lint problem. Evidence of
lint accumulation may be admitted and Mr. Porto may testify about the
danger it poses. He many not, however, testify there was a lint problem
based upon the newspaper article.

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           1.    Legal Standard

     Spoliation is the “destruction or significant alteration of evidence,

or the failure to preserve property for another’s use as evidence in

pending or reasonably foreseeable litigation.”     Graff v. Baja Marine

Corp., 310 F. App’x 298, 301 (11th Cir. 2009) (internal quotations and

citation omitted). As an evidentiary matter, the imposition of spoliation

sanctions is governed by federal law in diversity suits. Flury v. Daimler

Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005). Federal law in the

Eleventh Circuit, however, does not set forth specific guidelines in

determining whether sanctions for spoliation are appropriate. Id. As a

result, the spoliation analysis is “informed by Georgia law,” which the

Eleventh Circuit has found to be “wholly consistent with federal

spoliation principles.” Id.

     A party seeking to impose sanctions for spoliation must show:

(1) the missing evidence existed at one time; (2) the opposing party had a

duty to preserve the evidence; and (3) the evidence was crucial or

necessary to the litigation. In re Delta/AirTran Baggage Fee Antitrust

Litig., 770 F. Supp. 2d 1299, 1305 (N.D. Ga. 2011). If spoliation has

occurred, Georgia courts further evaluate the following five factors in



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determining whether spoliation sanctions are warranted: (1) whether the

movant was prejudiced as a result of the destruction of evidence;

(2) whether any prejudice can be cured; (3) the importance of the

evidence; (4) whether the spoliator acted in good or bad faith; and (5) the

potential for abuse if expert testimony about the evidence is not excluded.

Flury, 427 F.3d at 945 (citing Chapman v. Auto Owners Ins. Co., 469

S.E.2d 783, 784 (Ga. Ct. App. 1996)). The Eleventh Circuit has held that

a showing of bad faith is required to impose sanctions. See, e.g., Bashir

v. Amtrak, 119 F.3d 929, 931 (11th Cir. 1997) (“[A]n adverse inference is

drawn from a party’s failure to preserve evidence only when the absence

of that evidence is predicated on bad faith.”); Tesoriero v. Carnival Corp.,

965 F.3d 1170, 1184 (11th Cir. 2020) (“[T]he party’s reason for destroying

evidence is what justifies sanctions (or a lack thereof).”). Malice is not

required to find bad faith, instead “[t]he court should weigh the degree of

the spoliator’s culpability against the prejudice to the opposing party.”

Flury, 427 F.3d at 946. Georgia courts have also “held parties who are

experienced in claims handling and litigation procedure, such as an

insurance company, to higher standards than laypersons in evaluating

their obligation to preserve evidence.” S. Ga. Prods., Inc. v. Pioneer



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Mach., Inc., No. 1:02-CV-0886, 2004 WL 5492716, at *3 (N.D. Ga. Mar.

31, 2004). As sanctions for spoliation, the court may dismiss an action,

exclude testimony, or provide a jury instruction that spoliation of

evidence raises a presumption that the evidence was non-favorable to the

spoliator. Flury, 427 F.3d at 945. When spoliation has occurred, the

district court has wide discretion to impose sanctions. Id. at 944.

           2.    Plaintiff’s Motion

     Plaintiff moves to exclude evidence of allegedly inoperative fire

dampers based on a claim Defendant SAC altered or tampered with the

dampers after they were removed from the hotel. (Dkt. 69.) The fire

dampers were essentially metal curtains located within the dryer

ductwork that, if working properly, should have closed during the fire to

minimize expansion of the fire.       Defendant SAC’s employee, Jack

Simmons, testified that he saw the fire dampers on the day of the fire,

and they were not closed properly. (Dkt. 75-1 at 48:16–49:11.) He also

testified that he took pictures of them at that time. (Id. at 48:16–17.) He

told no one at the Westin hotel about his observations. (Id. at 50:2–11.)

About a week later, Mr. Simmons saw the dampers in Defendant SAC’s

dumpster. (Id. at 50:16–18.) He took four of them—identified by the



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parties as Dampers A, B, C, and D—to Defendant SAC’s office, but told

no one at the hotel he did so. (Id. at 50:24–52:17.) He testified that the

dampers were stored in Defendant SAC’s office from March 2018 until

August 2020. (Id. at 52:9–12.)

     As mentioned above, Defendant SAC’s expert relies on the fire

dampers as part of his opinion, specifically concluding the fire spread

farther than it should have spread because certain dampers failed to

close. (Dkts. 68-1 at 21; 70-1 at 24.) He explained that each damper has

a “fusible link” that spans the damper curtain, attaching to each side of

the curtain to “strap hooks” on the damper frame. (Dkt. 70-1 at 15.) In

this way, the fusible link holds the damper curtain in the open position.

(Id.) In a fire, heat causes the fusible link to separate into two pieces,

allowing the damper curtain to fall. (Id.) Mr. Porto determined Damper

A and B functioned properly, the fusible links separating and allowing

gravity to close the curtain.    (Id. at 15–16.)    Indeed, photos show

separated fusible links still attached to strap hook on each side of the

curtain. (Id.) He says Damper D did not close because someone had

inserted a metal rod through the strap hooks, thus locking the damper in

the open position during the fire. (Id.) Photos of the damper confirm this



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and the parties do not dispute Mr. Porto’s conclusion that the rod was in

place at the time of the fire and prevented the damper from closing. (Id.)

     The issue between the parties centers on Damper C. Mr. Porto

explains that Damper C had a properly positioned fusible link spanning

from a strap hook on one side of the damper to strap hook on the other

side, holding the damper curtain up (that is, in the open position). (Id.

at 16.) That fusible link separated during the fire (as expected) possibly

allowing the damper curtain to close. (Id.) He explained Damper C also

had a second fusible link, this one attached to a strap hook on one side of

the curtain but (apparently) not connected to a strap hook on the other

side. Mr. Porto’s report suggests Damper C (like Damper D) did not close.

(Id. at 22.) But, the report also includes a photo of it in the closed

position. (Id. at 17 (Figure 12).) And, at his deposition Mr. Porto testified

that he has no opinion about whether it closed during the fire. (Dkt. 81-

1 at 124:25–125:14.)

     Despite no evidence the second fusible link prevented the damper

from closing, Plaintiff tees off on it, saying someone must have added it

to the damper after the fire. It claims the plastic on the wire attaching

it to the strap hook would have melted if it had been attached to the



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damper during the fire. (Dkt. 69 at 4.) It argues the second fusible link

also showed no evidence of fire damage, even though it should have

separated at temperatures well below the fire’s intensity. (Id.) Plaintiff’s

expert, Ashley Cornelison, provided a declaration reaching the same

conclusion. (Dkt. 69-4 ¶¶ 4–7.) As a result of all this, Plaintiff argues

the Court should exclude all evidence of the fire dampers. (Dkt. 69 at 9–

12.)

       No direct evidence suggests someone added the second fusible link

after the fire. And, Defendant SAC’s circumstantial evidence (that is, the

lack of heat damage to the link or wire) does not suggest that happened.

It is entirely plausible (given a lack of evidence as to whether the damper

activated during the fire) that the second fusible link was always there

but was not in use as it did not span the bottom of the damper curtain.

In that case, the activation of the curtain (when the first fusible link

activated) would have protected the second fusible link from the heat and

fire. Mr. Porto even agreed that the second link could have been “tucked

up inside the damper” and thus protected from the heat. (Dkt. 81-1 at

123:4–124:7.) In other words, it is entirely plausible that the second

fusible link and wire could have survived the fire with no evidence of fire



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damage.14 And, of course, none of this touches the undisputed fact that

Damper D had been modified to remain in the open position.15 Plaintiff

may use these issues during cross-examination, but the Court denies its

motion for sanctions.

           3.    Defendant SAC’s Motion

     Defendant SAC brings its own motion for sanctions, saying the

Westin hotel spoliated evidence when it disposed of the ductwork from

the laundry ventilation system and at least one fire damper. (Dkt. 88 at

7.) As a result of this alleged spoliation, it requests the Court prevent

Plaintiff’s expert from offering any opinion the laundry equipment did

not start or exacerbate the fire and/or instruct the jury it may assume

the spoliated evidence would have shown the fire started in the laundry

room. (Id. at 11, 15.)

     Plaintiff concedes the Westin hotel discarded the duct work and

that the evidence might be relevant (or even crucial) to the defense. But




14 Mr. Porto even noted that the wire on the second fusible link showed
“some discoloration, consistent with fire exposure—heat exposure. It’s
hard to say.” (Dkt. 81-1 at 123:4–124:7.)
15 There was a fifth damper that was not retained by either party but

may have been photographed. (Dkt. 84 at 5.) Perhaps the jury will hear
about that damper at trial.

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Plaintiff says Defendant SAC cannot show the Westin or Plaintiff owed

them a duty to preserve the missing evidence prior to the time it threw

the evidence away. (Dkt. 95 at 11.) A party’s duty to preserve is only

triggered when litigation is reasonably anticipated.        See In re Delta

Antitrust Litig., 770 F. Supp. 2d at 1307.          If Plaintiff owed any

preservation duty to Defendant SAC, it arose only when Plaintiff could

have “reasonably foreseen” civil litigation. See Walker v. U.S., I.R.S., No.

4:07-cv-0102, 2009 WL 1241929, at *1 (N.D. Ga. Feb. 26, 2009)

(“Spoliation is the destruction or significant alteration of evidence, or the

failure to preserve property for another’s use in pending or reasonably

foreseeable litigation.”).

      Plaintiff contends that, immediately after the fire, Stacey

Flannigan    (one    of   Defendant    SAC’s   employees)     admitted    its

subcontractor caused the fire. (Dkt. 95 at 9–10.) Specifically, Mike Horne

(the Westin hotel engineer) testified that, on the day of the fire, he ran

into Mr. Flannigan who told him “either a spark or piece of slag may have

jumped over and gotten into the vent shaft.” (Dkt. 83-1 at 27:1–14.) Mr.

Horne testified that Mr. Flannigan told him, when one of Defendant

SRC’s employees “was grinding a piece of slag or a spark, it sounded like



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a piece of metal, had—when he was grinding it, jumped over into the

shaft because he said he saw the lint just below. . . . [H]e saw that ignite,

and then he said he saw it roll over and fall down into the shaft and that’s

what—it started even more after that.” (Id. at 43:5–18.) Mr. Horne

continued, testifying Mr. Flannigan told him “that the subcontractor was

grinding the rail when slag came off, jumped into the lint shaft . . . [and]

that’s what ignited the fire.” (Id. at 44:4–9.) Based on Mr. Flannigan’s

alleged acceptance of responsibility for the fire, Plaintiff argues the

Westin hotel had no reason to believe litigation would arise when it began

repairing the ductwork and throwing away the damaged system. (Id.)

     Defendant SAC disputes the alleged acceptance of responsibility.

At his deposition, Mr. Flannigan confirmed that one of Defendant SRC’s

foreman, Chad Phillips, called him from the rooftop to tell him about the

fire. (Dkt. 76-1 at 30:20–32:11.) But Mr. Flannigan testified that he

never talked to Mr. Phillips about what caused the fire. (Id. at 45:17–

23.) Mr. Phillips also testified. He said he “did not personally see a spark

go down in this shoot.” (Dkt. 74-1 at 81:21–11; 102:1–23.) Mr. Phillips

also said he “did not tell [Mr. Flannigan] specifically that fire was started

by a spark from my or our grinder.” (Id. at 83:8–13.) Mr. Phillips’ written



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statement provided to Marriott also mentions nothing about dropping a

piece of metal down the exhaust shaft. (Dkt. 72-1 at 30:14–17, 133.)

     There is a significant dispute of fact as to whether the Westin hotel

had a reason to anticipate litigation, thus precluding sanctions. At the

very least, the Court concludes from the disputed facts that Defendant

SAC has failed to satisfy its burden of showing the hotel had a duty to

preserve the evidence immediately following the fire.

     Defendant SAC contends this does not matter because, on March

22, 2018, Plaintiff’s insurance adjuster recommended Plaintiff retain

subrogation counsel and Plaintiff did so five days later, thus evidencing

it anticipated litigation. (Dkts. 102 at 4; 73-1 at 248, 292, 297.) Plaintiff

says the mere retention of subrogation counsel does not indicate it

anticipated litigation against Defendant SAC, let alone litigation about

the cause of the fire. Alternatively, Plaintiff contends that, even if it

should have saved the dampers, there is no evidence of bad faith so as to

warrant sanctions. (Dkt. 95 at 12.) Rather, Plaintiff says the evidence

shows the Westin hotel proceeded with repairs in good faith reliance on

Defendant SAC’s admission as to the cause of the fire. (Id. at 13.)




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         The Court agrees with Plaintiff. The mere retention of subrogation

counsel does not indicate anticipation of litigation let alone that the

ductwork would be part of that litigation. And there is no evidence of bad

faith.     By the time some of the ductwork was removed, the hotel’s

underwriter thought Defendant SAC had taken responsibility for the fire.

Defendant SAC has presented no evidence to challenge Plaintiff’s

assertion that the duct work was removed and discarded by the hotel’s

subcontractors during normal clean-up and repair of the system following

the fire. Indeed, prior to the January 18, 2022 hearing before this Court,

Defendant SAC prepared a timeline of events relevant to its spoliation

claim. (Dkt. 155-1.) In it, Defendant SAC represented (based on evidence

in the record) that Plaintiff had begun replacing some of the ductwork as

early as March 20, 2018—two days before the adjuster allegedly

recommended Plaintiff obtain subrogation counsel. (Id. ¶ 5.) Another

entry suggests Westin’s contractor had completed removal of all the

ductwork from the laundry room by March 22, 2018—the day of the

recommendation. (Id. ¶ 8.)16 No evidence currently before the Court


16 Another entry indicates the hotel’s subcontractors might have
continued removing ductwork in the laundry room for another 10 days,


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supports Defendant SAC’s claim the hotel removed the ductwork after it

should have reasonably foreseen litigation or otherwise acted in bad

faith.     If the evidence is different at trial, the Court will consider

appropriate sanctions. But, on the evidence presented, the Court denies

Defendant SAC’s motion for spoliation sanctions.




which would put that 4 days after Plaintiff retained subrogation counsel.
(Dkt. 115-1 ¶ 20.) Defendant SAC cites the testimony of Ashley
Cornelison (Plaintiff’s fire causation expert) in support of that
representation. But, Mr. Cornelison actually testified that, at the time
of his inspection, new dampers and ductwork were already in place. (Dkt.
117-1 at 48:6–12.) The citation used by Defendant SAC seems to be in
error as it contains a non-sensical statement by Mr. Cornelison that “the
ductwork was in the process of beginning their remediation.” (Id. at
93:21–22.) (Defendant SAC cites page 92 of the deposition, but that falls
on page 93 of Docket entry 117-1.) Mr. Cornelison only testified that
equipment in the laundry room was being removed. There seems to be
no evidence anyone removed the ductwork after the subrogation
recommendation, particularly in the light of the contractor’s invoice
indicating the work had been completed by that date. (Dkt. 115-1 ¶ 8.)
But, even if there were, the evidence still shows the Westin’s
subcontractors began that process well before, thus negating any
suggestion of bad faith.

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     C.     Motions to Exclude Experts

     Plaintiff moves to exclude certain testimony and report of

Defendant SAC’s experts Christopher Porto and Defendant SRC’s expert

Frank Hagan. (Dkts. 68; 77.) The Court denies both motions.

            1.   Legal Standard

     Trial courts serve a critical gate-keeping function for the

admissibility of expert testimony. Daubert v. Merrell Dow Pharms., Inc.,

509 U.S. 579, 589 (1993).       Expert testimony can be particularly

persuasive, and as such, the role of the trial court is to keep speculative

and unreliable testimony from reaching the jury. McCorvey v. Baxter

Healthcare Corp., 298 F.3d 1253, 1256 (11th Cir. 2002). The gatekeeping

function, however, “is not intended to supplant the adversary system or

the role of the jury.” Allison v. McGhan Med. Corp., 184 F.3d 1300, 1311

(11th Cir. 1999). “Vigorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the

traditional and appropriate means of attacking shaky but admissible

evidence.” Daubert, 509 U.S. at 596.

     Federal Rule of Evidence 702 governs the admissibility of expert

opinions:



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     A witness who is qualified as an expert by knowledge, skill,
     experience, training, or education may testify in the form of
     an opinion or otherwise if: (a) the expert’s scientific, technical,
     or other specialized knowledge will help the trier of fact to
     understand the evidence or to determine a fact in issue; (b)
     the testimony is based on sufficient facts or data; (c) the
     testimony is the product of reliable principles and methods;
     and (d) the expert has reliably applied the principles and
     methods to the facts of the case.

Fed. R. Evid. 702. In determining the admissibility of expert testimony

under Rule 702, the Eleventh Circuit employs a rigorous three-part

inquiry.   United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir.

2004). That is, expert testimony is admissible when

     (1) the expert is qualified to testify competently regarding the
     matters he intends to address; (2) the methodology by which
     the expert reaches his conclusions is sufficiently reliable as
     determined by the sort of inquiry mandated in Daubert; and
     (3) the testimony assists the trier of fact, through the
     application of scientific, technical, or specialized expertise, to
     understand the evidence or to determine a fact in issue.

Id. (citing City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562

(11th Cir. 1998)). The admissibility of an expert’s opinion thus turns on

three things: qualification, reliability, and helpfulness. See id.

     Turning first to the qualification, expert status may be based on

knowledge, skill, experience, training, or education. Fed. R. Evid. 702.

“[T]here is no mechanical checklist for measuring whether an expert is



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qualified to offer opinion evidence in a particular field.”        Santos v.

Posadas De P.R. Assocs., 452 F.3d 59, 63 (1st Cir. 2006).

     As for reliability, trial courts must assess “whether the reasoning

or methodology underlying the testimony is scientifically valid

and . . . whether that reasoning or methodology properly can be applied

to the facts in issue.” Daubert, 509 U.S. at 592–93. To evaluate the

reliability of scientific expert opinion, trial courts consider, to the extent

practicable: (1) whether the expert’s theory can be and has been tested;

(2) whether the theory has been subjected to peer review and publication;

(3) the known or potential error rate of the particular scientific technique;

and (4) whether the technique is generally accepted in the scientific

community. Frazier, 387 F.3d at 1262. “These factors are illustrative,

not exhaustive [and] not all of them will apply in every case . . . .” Id.

The same criteria may be used to evaluate the reliability of non-scientific

testimony. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).

     The final requirement for admissibility of expert testimony under

Rule 702 is that it must assist the trier of fact. Expert testimony assists

the trier of fact “if it concerns matters that are beyond the understanding

of the average lay person.” Frazier, 387 F.3d at 1262. Expert testimony



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generally will not help the trier of fact “when it offers nothing more than

what lawyers for the parties can argue in closing arguments.” Id. at

1262–63. Expert testimony does not help the trier of fact if it fails to “fit”

with the facts of the case. McDowell v. Brown, 392 F.3d 1283, 1298–99

(11th Cir. 2004). Expert testimony lacks “fit” when “a large analytical

leap must be made between the facts and the opinion.” Id.; see also Gen.

Elec. Co. v. Joiner, 522 U.S. 136, 147 (1997) (“A court may conclude that

there is simply too great an analytical gap between the data and the

opinion proffered.”).

           2.    Christopher Porto

     As explained above, Mr. Porto offered the opinion in his written

report that at least one of the fire dampers failed to close as intended and

that this error contributed to the spread of the fire. (Dkt. 70-1 at 24.)

But, at his deposition, Mr. Porto stated the fire could have spread past

the fire dampers before the fusible links melted and allowed the dampers

to close. (Dkt. 68 at 4.) Mr. Porto further admitted he did not know how

long it would take for the fusible links to melt and, although he identified

the Response Time Index (“RTI”) as a scientific test to determine that

response time, he did not complete that analysis here.           (Dkt. 81 at



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200:19–202:4, 216:11–17.) Based on this, Plaintiff seeks to preclude Mr.

Porto’s opinion that the altered damper allowed the fire to spread as

“mere conjecture” and not the product of any scientific analysis.17 The

Court disagrees.

     Mr. Porto conducted his investigation pursuant to the National Fire

Protection   Act   (“NFPA”)   921,    Guide   for   Fire   and   Explosion

Investigations. (Dkt. 56-1 at 7.) This guide “is the industry standard for

fire investigation.” United Fire and Cas. Co. v. Whirlpool Corp., 704 F.3d

1338, 1341 (11th Cir. 2013). “The NFPA 921 calls for the scientific

method to be used in conducting these investigations.”           Housley v.

LiftOne, LLC, No. 7:20-CV-00010, 2021 WL 4197596, at *5 (N.D. Ala.

Sept. 15, 2021). The steps of the scientific method are: (1) recognize the

need (identify the problem), (2) define the problem, (3) collect data, (4)

analyze the data, (5) develop hypotheses, and (6) select final hypothesis.

Id. Mr. Porto identified there was a fire and defined the problem by

conducting an investigation. Mr. Porto then collected data by visiting the


17 Plaintiff also argues Mr. Porto’s opinion that the fire dampers did not
close is unreliable because it is based on altered evidence. (Dkt. 68 at
14.) As discussed above, the Court finds no evidence the dampers were
tampered with after the fire. The Court thus refuses to grant Plaintiff’s
motion on this ground.

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fire scene, reviewing the available evidence (including photographs),

speaking to witnesses, and examining fire suppression systems. (Dkt.

56-1 at 7.)

      Plaintiff contends Mr. Porto’s “testimony and report regarding the

fire dampers were inadequate. The jury will be confused by Porto’s

personal opinions and it will be difficult for them to comprehend that they

are not based on recognized scientific methods.” (Dkt. 68 at 18–19.) The

Court, however, finds Mr. Porto’s opinions are based on recognized

scientific methods. Mr. Porto’s opinions that the fire dampers would have

stopped the spread of the fire are not based on his experience alone, but

also on the facts (1) these specific dampers were designed to stop the

passage of flame, (2) these dampers were significantly altered so their

functionality was impaired in the subject fire, and (3) the dampers

condition during the fire is supported through testimony and pictures.

Mr. Porto’s testimony as to the origin and cause of the fire is clearly

helpful.

      Mr. Porto’s failure to conduct an RTI analysis and determine how

quickly the dampers should have closed (as well as his concessions during

his depositions) may be explored during cross examination. Those facts



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may undermine the credibility of his analysis but they do not render his

opinions conjecture or his methodology unscientific. See Jones v. Otis

Elevator Co., 861 F.2d 655, 663–63 (11th Cir. 1988) (“Expert testimony is

admissible which connects conditions existing later to those existing

earlier provided the connection is concluded logically. Whether this

logical basis has been established is within the discretion of the trial

judge and the weaknesses in the underpinnings of the expert’s opinion go

to its weight rather than its admissibility. On cross-examination, the

opposing counsel is given the opportunity to ferret out the opinion’s

weaknesses to ensure the jury properly evaluates the testimony’s weight

and credibility.”).

      Plaintiff next contends Mr. Porto’s testimony on the adequacy of the

Westin’s housekeeping measures should be excluded because his opinions

are unreliable, not based on sound methodology or evidence, and not

helpful to the jury. (Dkt. 68 at 19.) Plaintiff contends his opinions about

lint are unreliable because he could not quantify how much lint was too

much lint, did not inquire as to when the lint was last cleaned, and did

not measure how much lint was actually present. (Id. at 20.) The Court

disagrees. Mr. Porto’s opinion is based on several grounds, including: (1)



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NFPA standards identifying the accumulation of lint creates a fire

hazard; (2) the combustible properties of lint; (3) Mr. Porto’s personal

observations of the accumulation during the Westin’s normal cleaning

schedule, and (4) Mr. Porto’s explanation of the spread of fire in the

Westin’s ventilation system. On June 25, 2020, Mr. Porto inspected the

Westin’s laundry ventilation system and observed and photographed

multiple areas where lint accumulated. (Dkts. 56-1 at 9–12; 79-1 ¶ 27.)

According to Mr. Porto it was not the lint depth, but the coverage that

was important because the heat of the fire is directly related to the

surface area covered with lint. (Dkt. 81-1 at 225:2–5, 227:18–228:3.)

Plaintiff’s contention that Mr. Porto cannot quantify how much lint is too

much lint is appropriate for cross-examination but is not sufficient to

exclude his housekeeping testimony.

     Plaintiff argues Mr. Porto’s testimony and report regarding

housekeeping measures are confusing and misleading because he does

not and cannot identify what adequate measures would be. (Dkt. 68 at

21.) Mr. Porto was aware the Westin had several housekeeping measures

in place but failed to ascertain why those measures were inadequate or

what additional housekeeping measures should have been taken. (Id. at



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21–22.) Mr. Porto concluded the Westin’s measures were inadequate

because they failed to limit the potential fire hazard from the

accumulation of lint. (Dkt. 56-1 at 19.) His opinions are also helpful

because a lay person may not realize that accumulations of lint can lead

to a fire or exacerbate it. The Court denies Plaintiff’s motion to exclude

Mr. Porto’s opinions and testimony.18

           3.    Frank Hagan

     Plaintiff also moves to exclude the proffered expert testimony of Mr.

Hagan regarding the proper functionality of the fire dampers as

unreliable, not based on sound methodology or evidence, and not helpful

to the jury. (Dkt. 77 at 9.) Plaintiff first argues Mr. Hagan does not rely

on any scientific reasoning or methodology to conclude that, if the fire

dampers were properly functioning, they would have activated and

stopped the spread of the fire. (Id.) Mr. Hagan admits he does not know

how long the lint would have taken to burn through and melt the fusible

link, and that the fire could have spread through the duct to cause

damage even if the damper functioned properly. (Dkts. 77 at 9–10; 82-1


18The Court has previously ruled on Mr. Porto’s use and testimony from
and regarding the fire incident reports and newspaper article. It does
not repeat that determination here.

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at 66:16.) Plaintiff thus claims his opinion is unsubstantiated, unreliable

ipse dixit. (Dkt. 77 at 9.) The Court disagrees.

     Mr. Hagan has been a professional, mechanical engineer for more

than 30 years. (Dkt. 61-1 at 6.) He conducted his analysis pursuant to

NFPA, Guide for Fire and Explosion Investigation. (Id. at 2.) After a

review of documents, fire codes, handbooks, scientific literature, and an

in-person inspection of the fire scene and fire dampers, Mr. Hagan

drafted a report. (Id.) In his report, Mr. Hagan noted one of the fire

dampers was pinned open at the time of the fire where a fusible link

should have been installed. (Id. at 3.) Mr. Hagan concluded that the

hotel failed to maintain the fire dampers as required by NFPA. (Id. at

5.) He opined that fire damage to the laundry room and ductwork would

have been greatly reduced, if not prevented, had the dampers been

maintained and operational. (Id.) Plaintiff argues there is no evidence

the fire dampers are designed or tested to stop a fire under the conditions

Mr. Hagan admitted existed at the hotel at the time of the fire, but that




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is an issue for cross-examination. As with Mr. Porto, the Court finds Mr.

Hagan’s methodology reliable.

     Plaintiff also contends Mr. Hagan’s “testimony and report

regarding the fire dampers were inadequate. A jury would be confused

and misled by Hagan’s statements regarding the fire dampers.” (Dkt. 77

at 11.) First, this argument is conclusory. Second, Mr. Hagan was

retained to determine whether the Westin’s fire suppression systems

were compliant with applicable fire codes and the origin and cause of the

fire. (Dkt. 107 at 8–9.) This information is likely beyond the scope of a

lay person, so Mr. Hagan’s testimony will be helpful to the jury. The

Court thus denies Plaintiff’s motion.

     D.    Joinder

     On July 9, 2021, Defendant SRC filed a motion for leave of court to

join Defendant SAC’s response to Plaintiff’s motion to exclude fire

dampers (Dkt. 85); response to Plaintiff’s motion to exclude fire reports

(Dkts. 86; 87); motion for spoliation sanctions (Dkt. 88); and reply brief

in support of spoliation sanctions (Dkt. 102). (Dkt. 109.) Plaintiff has

not filed a response, “indicat[ing] that there is no opposition to the

motion.” LR 7.1(B), NDGa. The Court grants this motion. See Capitol



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Specialty Ins. Co. v. PTAV, Inc., 331 F. Supp. 3d 1329, 1337–38 (N.D. Ga.

2018) (granting defendant’s motion to join co-defendants’ opposition

brief).

III. Conclusion

       The Court GRANTS Defendant SRC’s Motion for Leave of Court to

Join in Certain Filings by Co-Defendant SAC. (Dkt. 109.)

       The Court GRANTS IN PART and DENIES IN PART Plaintiff’s

Motion to Exclude Evidence of Atlanta Fire Department Incident Reports

and Atlanta Journal Newspaper Article. (Dkt. 70.)

       The Court DENIES Defendant Steve Ayers Construction Co., Inc.’s

Motion for Summary Judgment. (Dkt. 71.)

       The Court DENIES Plaintiff’s Motion to Exclude Evidence of

Allegedly Inoperative Fire Dampers Predicated on Spoliation of Evidence

(Dkst. 69) and Defendant’s Motion for Spoliation Sanctions (Dkt. 88).

       The Court DENIES Plaintiff’s Motion to Exclude Certain

Testimony and Report of Christopher J. Porto (Dkt. 68) and Plaintiff’s

Motion to Exclude Certain Testimony and Report of Frank Hagan (Dkt.

77).




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     The Court DIRECTS the parties, no later than March 3, 2022, to

file a consolidated pretrial order. The Court may sanction the parties,

including dismissing this action, if they fail to comply with this order.

The Court DIRECTS the Clerk to submit this matter to the Court after

March 3, 2022, if the parties fail to file their consolidated pretrial order.

     The jury trial in this case is set for August 16, 2022, at 1:30 p.m., in

Courtroom 1906. An order is forthcoming with a date for a pretrial

conference and deadlines for motions in limine, requests to charge,

proposed verdict forms, and deposition designations.

     SO ORDERED this 1st day of February, 2022.



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